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MINUTE ENTRY
WILKINSON, M. J.
JANUARY 3, 2020

                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

JOHN DOE                                                      CIVIL ACTION

VERSUS                                                        NO. 19-13425

ADMINISTRATORS OF THE                                         SECTION “D” (2)
TULANE EDUCATIONAL FUND

      A settlement conference was conducted on this date before the undersigned

magistrate judge. After discussions, the court was advised that the outline of a tentative

settlement has been reached, with some details to be finalized before a complete

agreement can be recorded. Counsel must call me jointly at 504-589-7630 on January 6,

2020 at 3:00 p.m. to report on the status of their discussions.


                                                 JOSEPH C. WILKINSON, JR.
                                            UNITED STATES MAGISTRATE JUDGE
CLERK TO NOTIFY:
HON. WENDY B. VITTER




 MJSTAR 3:25
